                  Case 23-13016-pmm                      Doc        Filed 01/25/24 Entered 01/25/24 17:09:52                                Desc Main
 Fill in this information to identify the case:
                                                                    Document      Page 1 of 3
 Debtor 1                  Kurt Douglass Fritz
 Debtor 2                  Wendlolyn M. Douglass
 (Spouse, if filing)
 United States Bankruptcy Court for the:            Eastern    District of              Pennsylvania
                                                                                           (State)
 Case number                                       23-13016




Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                                              12/16
If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy filing that you
assert are recoverable against the debtor or against the debtor's principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.

Name of creditor:                  Allied First Bank, SB dba Servbank                                Court claim no. (if known):            4-1

Last four digits of any number you use to
identify the debtor's account:                                                   2698

Does this notice supplement a prior notice of postpetition fees,
expenses, and charges?

                No
                Yes. Date of the last notice:                               .

 Part 1:               Itemize Postpetition Fees, Expenses, and Charges

 Itemize the fees, expenses, and charges incurred on the debtor's mortgage account after the petition was filed. Do not include any
 escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously approved an
 amount, indicate that approval in parentheses after the date the amount was incurred.

             Description                                                                              Dates incurred                                 Amount
 1.          Late charges                                                                                                                    (1)
 2.          Non-sufficient funds (NSF) fees)                                                                                                (2)
 3.          Attorney fees                                                                                                                   (3)
 4.          Filing fees and court costs                                                                                                     (4)
 5.          Bankruptcy/Proof of claim fees                                  Proof of Claim                                    12/29/2023    (5)        $350.00
 6.          Appraisal/Broker's price opinion fees                                                                                           (6)
 7.          Property inspection fees                                                                                                        (7)
 8.          Tax advances (non-escrow)                                                                                                       (8)
 9.          Insurance advances (non-escrow)                                                                                                 (9)
 10.         Property preservation. Specify:                                                                                                (10)
 11.         Other. Specify:                                                 Plan Review Fee                                   12/27/2023   (11)        $300.00
 12.         Other. Specify:                                                                                                                (12)
 13.         Other. Specify:                                                                                                                (13)
 14.         Other. Specify:                                                                                                                (14)
 15.         Total post-petition fees, expenses, and charges. Add all of the amounts listed above.                                          (15)        $650.00


 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
 See 11 U.S.C. §1322(b)(5) and Bankruptcy Rule 3002.1.




Official Form 410S2                              Notice of Postpetition Mortgage Fees, Expenses, and Charges                                          2225-N-7210
                                                                                                                                                   NFC_122018_001
            Case 23-13016-pmm                      Doc        Filed 01/25/24 Entered 01/25/24 17:09:52                         Desc Main
                                                              Document      Page 2 of 3
Debtor 1                                     Kurt Douglass Fritz                      Case Number (if known)                23-13016
                        First Name            Middle Name          Last Name




Part 2:     Sign Here


The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone
number.

Check the appropriate box.

 I am the creditor.

 I am the creditor's authorized agent.


I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my knowledge,
information, and reasonable belief.



/s/ Mukta Suri
Signature                                                                          Date    01/24/2024


Print            Mukta Suri                                                        Title   Authorized Agent for Allied First Bank, SB dba Servbank
                  First Name          Middle Name           Last Name



Company          Bonial & Associates, P.C.


Address          14841 Dallas Parkway, Suite 350
                 Number              Street

                 Dallas, Texas 75254
                 City                State                  ZIP Code



Contact phone            (972) 643-6600                        Email    POCInquiries@BonialPC.com




Official Form 410S2                     Notice of Postpetition Mortgage Fees, Expenses, and Charges                                         2225-N-7210
                                                                                                                                         NFC_122018_001
Case 23-13016-pmm               Doc      Filed 01/25/24 Entered 01/25/24 17:09:52                     Desc Main
                                         Document      Page 3 of 3


CERTIFICATE OF SERVICE OF NOTICE OF POST PETITION MORTGAGE, FEES, EXPENSES AND
                                   CHARGES

I hereby certify that a true and correct copy of the foregoing document has been served upon the following parties in
interest on or before January 25, 2024 via electronic notice unless otherwise stated.

Debtor              Via U.S. Mail
Kurt Douglass Fritz
119 Ardmore Ave
Reading, PA 19607-1003

Debtor              Via U.S. Mail
Wendlolyn M. Douglass
119 Ardmore Ave
Reading, PA 19607-1003


Debtors' Attorney
Michael A. Cibik
Cibik Law, P.C.
1500 Walnut Street, Suite 900
Philadelphia, PA 19102


Chapter 13 Trustee
Scott F. Waterman
2901 St. Lawrence Ave, Suite 100
Reading, Pennsylvania 19606




                                                      Respectfully Submitted,
                                                      /s/ Mukta Suri




NOTICE OF FEES AND COSTS - CERTIFICATE OF SERVICE                                                        2225-N-7210
                                                                                                      NFC_COSDflt_01
